
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 95-1234


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                      HECTOR GUZMAN, a/k/a HECTOR GUZMAN RIVERA,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED SATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                [Hon. Gilberto Gierbolini, Senior U.S. District Judge]
                                           __________________________

                              _________________________

                                        Before

                         Selya and Cummings,* Circuit Judges,
                                              ______________

                          and Coffin, Senior Circuit Judge.
                                      ____________________

                              _________________________

               Gabriel Hernandez Rivera on brief, and Hector Guzman Rivera,
               ________________________               ____________________
          pro se ipso, on supplemental brief, for appellant.
          ___ __ ____
               John C. Keeney,  Acting Assistant Attorney General,  Theresa
               ______________                                       _______
          M.B. Van Vliet and Philip Urofsky, Criminal Division,  U.S. Dept.
          ______________     ______________
          of Justice, and  Guillermo Gil, United States Attorney,  on brief
                           _____________
          for appellee.

                              _________________________

                                     June 7, 1996

                              _________________________

          ____________

          *Of the Seventh Circuit, sitting by designation.















                    SELYA, Circuit Judge.   This appeal raises, inter alia,
                    SELYA, Circuit Judge.
                           _____________                        _____ ____

          the question  whether  defendant-appellant Hector  Guzman  Rivera

          (Guzman) was twice  put in  jeopardy for the  same offense,  thus

          violating  his  Fifth Amendment  rights.    Discerning neither  a

          constitutional flaw  nor any  other significant error,  we affirm

          the judgment below.

          I.  BACKGROUND
          I.  BACKGROUND

                    The  indictment in this  case arises out  of an aborted

          drug smuggle  that took the appellant by  sea from Puerto Rico to

          the  island   of  St.  Maarten  in   the  Netherlands  Antilles.1

          According  to the appellant's  uncontradicted allegations, Victor

          Ayala,   an  agent   of  the   United  States   Drug  Enforcement

          Administration  (DEA), followed  the LEE  MARY (captained  by the

          appellant)  to St. Maarten in August 1990, and then surveilled it

          for two days.   At  this juncture Dutch  authorities boarded  the

          ship, searched  her, seized  seventy-three kilograms  of cocaine,

          and detained several  persons.  The appellant alleges  that Ayala

          joined in the  search, but  the United States  maintains that  he

          merely observed it  from his surveillance post.  At  any rate, it

          is  undisputed that after the search had begun Ayala informed the

          Dutch  authorities of  Guzman's  involvement.   Local police  ran

          Guzman to ground nearby and arrested him.

                    The  Dutch  government  charged  Guzman  with  a  crime

          involving possession  of the  cocaine stashed  on  board the  LEE
                              
          ____________________

               1Further details of the  failed drug-smuggling operation can
          be  found in our opinion  in United States  v. LaBoy-Delgado, ___
                                       _____________     _____________
          F.3d ___ (1st Cir. 1996) [No. 95-1863].

                                          2














          MARY.  He was tried, convicted, and sentenced to a ten-year  term

          of  immurement  in  St. Maarten.    He  escaped in  May  of 1992.

          Approximately  seven months later the DEA  arrested him in Puerto

          Rico when he  attempted to  sell heroin to  an undercover  agent.

          After being  found guilty of that  crime he was sentenced  to 147

          months' imprisonment.

                    The appellant's troubles were  not yet behind him:   in

          November  of 1993,  federal authorities  in Puerto  Rico indicted

          several individuals (including Guzman)  for the attempted smuggle

          that had occurred in the summer of 1990.  The charges against the

          appellant   included  conspiring  to   possess,  with  intent  to

          distribute, in excess of five kilograms of cocaine, see 21 U.S.C.
                                                              ___

              841(a)(1) &amp; 846; attempting to import cocaine into the United

          States, see id.    952,  960, &amp; 963; and aiding and  abetting the
                  ___ ___

          commission of certain charged offenses, see 18 U.S.C.   2.
                                                  ___

                    In  due season  the  district court  denied motions  to

          dismiss  the  indictment  which  posited, inter  alia,  that  the
                                                    _____  ____

          bringing  of charges  violated the  Double Jeopardy  Clause, U.S.

          Const.  amend. V,  cl.2,  and that  the  delay in  procuring  the

          indictment countervailed the Speedy Trial Act, 18 U.S.C.    3161-

          3174.   Rather  than entrust  his fate  to a jury,  the appellant

          entered into  a plea  agreement with  the government pursuant  to

          which he pleaded guilty  to possession of cocaine with  intent to

          distribute.  All  other charges  against him were  dropped.   The

          district court imposed  a sentence of  seventy months in  prison,

          directing that the term run consecutive to the previously imposed


                                          3














          heroin-trafficking sentence.  This appeal ensued.

          II.  ANALYSIS
          II.  ANALYSIS

                    In addition  to the double  jeopardy claim    which has

          been extensively  briefed by Guzman's appellate  counsel   Guzman

          himself   advances  four   other  assignments   of  error   in  a

          supplemental pro se brief.  We address all five claims.

                                 A.  Double Jeopardy.
                                 A.  Double Jeopardy.
                                     _______________

                    The appellant  contends that the offense  of conviction

          in this  case and the offense  for which he was  convicted in St.

          Maarten  are one  and the same,  thus triggering  double jeopardy

          concerns.    Even  though  both  cases  involve  the  appellant's

          possession  of  the  identical  seventy-three  kilos  of cocaine,

          destined for importation  into the United States via St. Maarten,

          a towering obstacle looms:  the two sets  of charges were brought

          by  different  governments.     The  black-letter  rule  is  that

          prosecutions  undertaken  by separate  sovereign  governments, no

          matter how  similar they may  be in character,  do not  raise the

          specter  of double  jeopardy as  that constitutional  doctrine is

          commonly  understood.   See  Heath v.  Alabama,  474 U.S.  82, 88
                                  ___  _____     _______

          (1985); United States v.  Lopez Andino, 831 F.2d 1164,  1167 (1st
                  _____________     ____________

          Cir.  1987), cert.  denied,  486 U.S.  1034  (1988).   This  rule
                       _____  ______

          derives from the  tenet that when  "a defendant  in a single  act

          violates  the `peace and  dignity' of two  sovereigns by breaking

          the laws of each,  he has committed two distinct  `offences'" and

          can be prosecuted and punished for both.  Heath, 474 U.S. at 88.
                                                    _____

                    The  appellant concedes  the  general validity  of this


                                          4














          "dual sovereign" rule, and recognizes that, if applicable in this

          instance,  it  shields  the  United States  from  the  successive

          prosecution  prong of  the  Double Jeopardy  Clause.   He  argues

          nonetheless  that  the shield  is  unavailable  here because  the

          United   States   government   orchestrated   the   St.   Maarten

          investigation  and superintended  the  ensuing prosecution,  thus

          effectively  merging  the  two  sovereigns into  one  for  double

          jeopardy purposes.

                    The argument is not entirely without basis.  In Bartkus
                                                                    _______

          v.  Illinois,  359 U.S.  121,  131-33 (1959),  the  Supreme Court
              ________

          upheld the second of two convictions of  a defendant who had been

          prosecuted by two sovereigns   the federal government and a state

            for the same conduct.  The Court indicated, however, that under

          very  limited circumstances  successive prosecutions  by separate

          sovereigns might  transgress the Double Jeopardy Clause.  See id.
                                                                    ___ ___

          at  123-24.   Bartkus was  not such  a case  because, there,  the
                        _______

          record did

                    not  support  the  claim  that  the State  of
                    Illinois  in  bringing  its  prosecution  was
                    merely a tool of the federal authorities, who
                    thereby avoided the  prohibition of the Fifth
                    Amendment  against  a  retrial  of  a federal
                    prosecution after an acquittal.   It does not
                    sustain   a   conclusion   that   the   state
                    prosecution  was a  sham  and a  cover for  a
                    federal prosecution, and thereby in essential
                    fact another federal prosecution.

          Id.
          ___

                    This   language   strongly  suggests   that  defendants

          prosecuted by two sovereign governments for the same  conduct may

          on  occasion be able to invoke double jeopardy protection.  While

                                          5














          some courts have brushed aside this language as dictum and hinted

          that the Bartkus  exception to  the dual sovereign  rule may  not
                   _______

          exist at all, see United States v. Paiz, 905 F.2d 1014, 1024 n.13
                        ___ _____________    ____

          (7th Cir. 1990), cert. denied, 499 U.S. 924 (1991); United States
                           _____ ______                       _____________

          v. Patterson, 809 F.2d 244, 247  n.2 (5th Cir. 1987), most courts
             _________

          have  treated the  Bartkus intimation  as good  law.   See, e.g.,
                             _______                             ___  ____

          United States v. Certain  Real Property and Premises Known  as 38
          _____________    ________________________________________________

          Whalers Cove Dr.,  954 F.2d 29, 38 (2d Cir.  1992), cert. denied,
          ________________                                    _____ ______

          506 U.S. 815 (1992); United States v. Raymer, 941 F.2d 1031, 1037
                               _____________    ______

          (10th Cir. 1991); United States v. Louisville Edible Oil  Prods.,
                            _____________    ______________________________

          Inc., 926 F.2d 584,  587-88 (6th Cir. 1991); In re  Kunstler, 914
          ____                                         _______________

          F.2d 505, 517 (4th Cir. 1990), cert. denied, 499 U.S. 969 (1991);
                                         _____ ______

          United States v. Bernhardt, 831 F.2d 181, 182-83 (9th Cir. 1987);
          _____________    _________

          United States v. Lane, 891  F. Supp. 8, 10 (D. Me.  1995); United
          _____________    ____                                      ______

          States v. Bouthot, 685 F. Supp. 286, 294 (D. Mass. 1988).
          ______    _______

                    We find the gravitational pull of Bartkus irresistible.
                                                      _______

          Indeed, we think that  the exception is compelled by  the bedrock

          principles  of dual sovereignty.  See United States v. Liddy, 542
                                            ___ _____________    _____

          F.2d 76, 79 (D.C. Cir. 1976) ("Bartkus, as we view it, stands for
                                         _______

          the  proposition  that federal  authorities  are proscribed  from

          manipulating state processes to accomplish that which they cannot

          constitutionally  do themselves.    To hold  otherwise would,  of

          course,  result in a mockery of the dual sovereignty concept that

          underlies our system of criminal justice.").

                    We emphasize that the Bartkus exception  is narrow.  It
                                          _______

          is limited  to situations  in which one  sovereign so  thoroughly


                                          6














          dominates or  manipulates the prosecutorial machinery  of another

          that  the latter  retains  little  or  no  volition  in  its  own

          proceedings.  See, e.g.,  United States v. Baptista-Rodriguez, 17
                        ___  ____   _____________    __________________

          F.3d 1354, 1361 (11th  Cir. 1994); Whalers Cove, 954  F.2d at 38;
                                             ____________

          Raymer, 941 F.2d  at 1037; Kunstler, 914 F.2d at  517; Liddy, 542
          ______                     ________                    _____

          F.2d at 79.

                    Some courts  have suggested that a  defendant who seeks

          shelter under the  Bartkus exception bears the burden  of proving
                             _______

          that  one  sovereign dominated  the  other's  acts.   See,  e.g.,
                                                                ___   ____

          Raymer, 941 F.2d at 1037; Liddy,  542 F.2d at 79.   Nevertheless,
          ______                    _____

          this  court has  erected  a framework  that  dictates a  somewhat

          different  allocation of  the  burden.   Under  this matrix,  the

          defendant must  proffer evidence sufficient to  establish a prima

          facie case that the  two prosecutions were for the  same offense.

          If  the  defendant  meets his  entry-level  burden  by  making an

          adequate  evidentiary  showing  to  that effect,  the  devoir  of

          persuasion  shifts to the  government to prove  that the offenses

          are not identical.2   See United States v. Garcia-Rosa,  876 F.2d
                                ___ _____________    ___________

          209, 229 (1st  Cir. 1989),  cert. denied, 493  U.S. 1030  (1990);
                                      _____ ______

          United  States v.  Booth, 673  F.2d 27,  30-31 (1st  Cir.), cert.
          ______________     _____                                    _____
                              
          ____________________

               2Although   a  double  jeopardy   claim  of  the  successive
          prosection type  is admittedly  in the  nature of an  affirmative
          defense  to  an indictment,  there  is  nothing unorthodox  about
          requiring  the government to  bear the  ultimate burden  of proof
          vis-a-vis  the existence  of an alleged  constitutional violation
          once  sufficient   evidence  is  adduced  to   put  the  question
          legitimately into issue.  See,  e.g., United States v. Rodriguez,
                                    ___   ____  _____________    _________
          858 F.2d 809, 813-15 (1st Cir. 1988) (holding that if a defendant
          identifies record evidence from which a jury could  conclude that
          the  defendant was entrapped, the government must bear the burden
          of proving that no entrapment occurred).

                                          7














          denied, 456 U.S. 978 (1982); see also United States v. Schinnell,
          ______                       ___ ____ _____________    _________

          80 F.3d  1064, 1066  (5th Cir.  1996) (employing  same paradigm);

          United  States  v. Inmon,  568 F.2d  326,  331-32 (3d  Cir. 1977)
          ______________     _____

          (same); United States v. Mallah, 503 F.2d 971, 986 (2d Cir. 1974)
                  _____________    ______

          (same), cert. denied, 420 U.S. 995 (1975).
                  _____ ______

                    In  the  Bartkus   context,  the  question   whether  a
                             _______

          defendant is being twice prosecuted for the same offense turns in

          part on the applicability of the dual sovereign rule.  See Heath,
                                                                 ___ _____

          474 U.S.  at 88.  Thus, the  defendant must produce some evidence

          tending  to  prove that  the rule  should  not apply  because one

          sovereign  was  a pawn  of the  other, with  the result  that the

          notion  of two  supposedly independent  prosecutions is  merely a

          sham.   If the defendant  proffers evidence sufficient to support

          such a finding   in  effect, a prima facie case    the government

          must  shoulder the burden of  proving that one  sovereign did not

          orchestrate  both prosecutions,  or,  put another  way, that  one

          sovereign was  not a tool of the other.  See, e.g., United States
                                                   ___  ____  _____________

          v.  Harrison, 918 F.2d 469, 475 (5th Cir. 1990) (applying burden-
              ________

          shifting matrix in the Bartkus context).3
                                 _______
                              
          ____________________

               3There is some controversy in the circuits over whether this
          procedural  matrix  applies  unreservedly both  to  interlocutory
          review  of double jeopardy claims and to direct appeals following
          convictions.  Compare United States v. Dortch, 5 F.3d 1056, 1060-
                        _______ _____________    ______
          61 (7th Cir. 1993)  (holding that the defendant bears  the burden
          of proof  on  posttrial review),  cert.  denied, 114  S.Ct.  1077
                                            _____  ______
          (1994) and United States v.  Bendis, 681 F.2d 561, 564  (9th Cir.
                 ___ _____________     ______
          1981)  (same), cert.  denied,  459 U.S.  973  (1982) with  United
                         _____  ______                         ____  ______
          States  v. Loyd, 743 F.2d  1555, 1563 (11th  Cir. 1984) (applying
          ______     ____
          standard burden-shifting framework  to posttrial review);  United
                                                                     ______
          States v. Adamo,  742 F.2d  927, 946-47 (6th  Cir. 1984)  (same),
          ______    _____
          cert.  denied, 469 U.S. 1193 (1985); United States v. Kalish, 690
          _____  ______                        _____________    ______
          F.2d  1144, 1147 (5th Cir.  1982) (same), cert.  denied, 459 U.S.
                                                    _____  ______

                                          8














                    In this case,  it is crystal  clear that the  appellant

          did not  offer enough evidence  to carry his  entry-level burden.

          Factually, his claim comes down  to this:  he asserts that  Agent

          Ayala  traveled to St. Maarten,  surveilled the LEE MARY, alerted

          the St. Maarten police  to the appellant's presence, participated

          in the shipboard search (a fact that the United States contests),

          and testified at the  ensuing trial.  Nothing in  the appellant's

          proffer remotely suggests that  the Dutch authorities were merely

          handmaidens  of  the DEA  or that  the  Dutch prosecution  was in

          reality a prosecution  undertaken sub rosa  by the United  States
                                            ___ ____

          government.  Even  if all  the appellant's facts    stripped,  of

          course, of opprobrious epithets and unsupported conclusions   are

          taken  at  face value,  those facts  show  nothing more  than the

          rendering  of routine intergovernmental  assistance.  Cooperative

          law  enforcement  efforts   between  independent  sovereigns  are

          commendable, and, without more,  such efforts will not  furnish a

          legally  adequate basis for invoking the Bartkus exception to the
                                                   _______

          dual sovereign rule.  See Whalers Cove, 954 F.2d at 38; Paiz, 905
                                ___ ____________                  ____

          F.2d at 1024.

                    Viewed against  this legal  and factual mise  en sc ne,

          the  indictment  in  this  case  did  not  constitute   a  second

          prosecution  for the same offense within the purview of the Fifth

          Amendment.   Consequently,  the district  court  did not  err  in

                              
          ____________________

          1108  (1983); Mallah, 503  F.2d at 986 (same).   See also Garcia-
                        ______                             ___ ____ _______
          Rosa, 876 F.2d  at 229 n.17  (noting the uncertainty).   Since we
          ____
          hold that the  appellant did not satisfy his  entry-level burden,
          we need not take sides on this controversial issue today.

                                          9














          denying the  motion to dismiss the indictment  on double jeopardy

          grounds.

                                B.  Speedy Trial Act.
                                B.  Speedy Trial Act.
                                    ________________

                    The baseline  premise of  the Speedy  Trial Act is  the

          requirement that a  defendant has  a right to  be tried  promptly

          following his indictment or  initial appearance before a judicial

          officer (whichever first occurs).   See United States  v. Staula,
                                              ___ _____________     ______

          80  F.3d  596,  600  (1st  Cir.  1996).    Juxtaposed  with  this

          requirement  is the  requirement that,  once arrested,  a suspect

          must be indicted or otherwise formally charged within thirty days

          of his  arrest.  See 18 U.S.C.   3161(b).  The appellant suggests
                           ___

          two reasons why the  government's actions in this case  run afoul

          of this latter proscription.  Neither reason is persuasive.

                    1.  The first iteration of the appellant's speedy trial
                    1.

          claim embodies  a repullulation of his  double jeopardy analysis.

          He  asseverates that  since  the United  States orchestrated  his

          arrest  in St. Maarten, 18  U.S.C.   3161(b)  required the United

          States  to indict  him within thirty  days of that  arrest.  This

          asseveration elevates hope  over reason, and  we need not  linger

          long in dispatching it.

                    The Speedy  Trial Act, in  terms, applies  only to  the

          conduct of the United States.  Because  we already have held that

          the  United States did  not control, dominate,  or manipulate the

          actions of  the Dutch authorities  in respect to  Guzman's arrest

          and prosecution in St.  Maarten, see supra Part II(A),  the claim
                                           ___ _____

          that  the date of that arrest affected the movement of the speedy


                                          10














          trial  clock in  this  case is  without  foundation.   Arrest  or

          indictment  by  one  sovereign  does  not  engage  the  statutory

          guarantee of a speedy trial in respect to a subsequent indictment

          by  a different sovereign.   See United States  v. MacDonald, 456
                                       ___ _____________     _________

          U.S. 1, 10 n.11 (1982).

                    2.   The  second  iteration of  the appellant's  speedy
                    2.

          trial claim takes a  somewhat divergent slant.  He  asserts that,

          when he was arrested  in Puerto Rico for heroin  trafficking, the

          United States  knew of  his 1990  involvement with  the ill-fated

          cocaine smuggle and, hence, the government was obliged to  charge

          him within thirty days  of that arrest, see 18 U.S.C.    3161(b),
                                                  ___

          or in  the alternative,  to seek a  detainer from  the Bureau  of

          Prisons  (which  had  custody of  him  at  the time),  see  id.  
                                                                 ___  ___

          3161(j)(1).  This assertion is equally devoid of merit.

                    In the  first place, the Speedy Trial Act requires that

          a person  arrested for a crime  must be charged by  indictment or

          information  within thirty days of his arrest "in connection with

          such charges."   Id.   3161(b).   In this  situation, the heroin-
                           ___

          trafficking incident  that led  to the appellant's  December 1992

          arrest  had no connection with  his activity in  St. Maarten two-

          and-one-half years  earlier.   It follows, therefore,  that since

          the authorities did not arrest the appellant  in 1992 for a crime

          related to his St. Maarten conduct, the Speedy Trial Act did  not

          require  that  he be  charged  with  the cocaine-smuggling  crime

          within thirty days of that arrest.  See  United States v. Orbino,
                                              ___  _____________    ______

          981  F.2d 1035, 1036-37 (9th Cir. 1992), cert. denied, 114 S. Ct.
                                                   _____ ______


                                          11














          256  (1993); United States v.  Savage, 863 F.2d  595, 597-98 (8th
                       _____________     ______

          Cir. 1988), cert. denied, 490 U.S. 1082 (1989).
                      _____ ______

                    In  the second  place, 18  U.S.C.    3161(j)(1) applies

          only to a person who has been "charged with an offense."  In this

          instance, the  appellant  was not  charged with  the offenses  of

          conspiracy  to possess  with intent  to distribute  and attempted

          importation  until the  end of  1993.   Until  it brought  such a

          charge,  the government had no obligation to file a detainer with

          the Bureau of Prisons.4

                                 C.  Plea Agreement.
                                 C.  Plea Agreement.
                                     ______________

                    The appellant contends that the government breached the

          plea  agreement.   He tells  us that  the U.S.  Attorney's office

          promised it would  not oppose a  recommendation for a  concurrent

          sentence, but  the prosecutor  instead argued successfully  for a

          consecutive sentence.

                    This  contention  is  baseless.5   The  plea  agreement

          signed   by   the   appellant   specifically,   explicitly,   and

          unambiguously states:  "The United States and the defendant agree
                              
          ____________________

               4To cinch matters, the law is pellucid that the dismissal of
          an  indictment is  not a suitable  remedy for  a violation  of 18
          U.S.C.   3161(j)(1).  See United States v. Wickham, 30 F.3d 1252,
                                ___ _____________    _______
          1255 (9th Cir. 1994); United States v. Dawn, 900 F.2d 1132, 1135-
                                _____________    ____
          36 (7th Cir.), cert.  denied, 498 U.S. 949 (1990);  United States
                         _____  ______                        _____________
          v. Anderton, 752 F.2d 1005, 1008 (5th Cir. 1985).
             ________

               5As  an initial matter, we  note that the  appellant did not
          raise  the issue  of the government's  alleged breach  before the
          district  court.   The question  of procedural  default vis-a-vis
          claims involving breached plea  agreements has divided the courts
          of  appeals.  See United States v. Gonzalez-Perdomo, 980 F.2d 13,
                        ___ _____________    ________________
          15-16 (1st Cir. 1992) (collecting cases).  We need not enter this
          thicket  today because we find the appellant's claim of breach to
          be without basis.

                                          12














          that   the  sentence  to  be  imposed  in  this  case  shall  run

          consecutive  to  any  other  sentence of  imprisonment  that  the

          defendant  is  currently  serving."    The  plea  agreement  also

          contains  an integration  clause  that provides:   "This  written

          agreement  constitutes the  complete  plea agreement  between the

          United States, the defendant,  and the defendant's counsel.   The

          United States has made  no promises or representations  except as

          set  forth in writing in this plea agreement."  The questionnaire

          that  the appellant  completed in  advance of  the change-of-plea

          colloquy  is  consistent   with  these   understandings.6     The

          appellant has made no allegation that he was coerced into signing

          the  plea agreement, that  he was misled  as to its  contents, or

          that the questionnaire is bogus.

                    In short, the appellant  identifies nothing that  would

          justify  an  objectively  reasonable expectation  that  the  plea

          agreement  meant anything other than what it plainly says.  Since

          the  government  abided faithfully  by  the  clear  terms of  its

          written agreement, we have  no warrant to set aside  the sentence

          imposed by the  district court.  See United States  v. Hogan, 862
                                           ___ _____________     _____

          F.2d 386, 388 (1st Cir. 1988).

                        D.  Ineffective Assistance of Counsel.
                        D.  Ineffective Assistance of Counsel.
                            _________________________________

                    The appellant  claims that  his trial  counsel provided
                              
          ____________________

               6The record does not contain a transcript of the  change-of-
          plea hearing.   We must  assume, therefore, that  the appellant's
          answers  to the judge's questions did not differ from the written
          questionnaire.  See, e.g., Moore v. Murphy, 47 F.3d 8, 10-11 (1st
                          ___  ____  _____    ______
          Cir. 1995) (explaining that  the appellant must bear the  onus of
          an incomplete record on  appeal); Real v. Hogan, 828  F.2d 58, 60
                                            ____    _____
          (1st Cir. 1987) (similar).

                                          13














          him  with   ineffective  assistance   by  failing  to   (1)  file

          appropriate pretrial motions, (2)  notify the sentencing court of

          health  problems afflicting  his  family, and  (3) make  a proper

          request for the return  of property.  The rule  is firmly settled

          in  this  circuit  that  "fact-specific  claims  of   ineffective

          assistance cannot make their  debut on direct review of  criminal

          convictions."  United States v. Mala, 7 F.3d 1058, 1063 (1st Cir.
                         _____________    ____

          1993) (explaining  the rule and collecting  cases), cert. denied,
                                                              _____ ______

          114 S. Ct. 1839 (1994).  While we have made occasional exceptions

          to the  rule in  certain idiosyncratic circumstances,  see, e.g.,
                                                                 ___  ____

          United  States v.  Natanel, 938  F.2d 302,  309 (1st  Cir. 1991),
          ______________     _______

          cert.  denied,  502 U.S.  1079 (1992),  this  case does  not fall
          _____  ______

          within   the  isthmian  confines  of  any  recognized  exception.

          Because the appellant did not  present this claim of  ineffective

          assistance to the lower court, we decline to consider it.7

                               E.  Seizure of Property.
                               E.  Seizure of Property.
                                   ___________________

                    Under the Criminal Rules, a person deprived of property

          "may  move the  district  court for  the  district in  which  the

          property was seized for the return  of the property on the ground

          that  such  person  is  entitled  to  lawful  possession  of  the

          property."  Fed.  R. Crim. P. 41(e).  Acting  pro se, Guzman made

          such a motion  below; in  it, he claimed  entitlement to  certain

          items allegedly seized from him at the time of his initial arrest

                              
          ____________________

               7Of   course,  our  disposition   does  not   prejudice  the
          appellant's  right to raise a claim  of ineffective assistance of
          counsel in a petition for postconviction relief under 28 U.S.C.  
          2255.  See Mala, 7 F.3d at 1064.
                 ___ ____

                                          14














          in  St. Maarten.   He  also  claimed entitlement  to a  tool box,

          together with its contents, alleging that the tool box was inside

          a  car, belonging to his sister,  that federal authorities seized

          in  Puerto  Rico.   The district  court  found that  the property

          seized in St. Maarten was  taken not by the United States  but by

          the Netherlands  Antilles, and that, therefore,  the court lacked

          jurisdiction to order its  return.8  However, the  district court

          did not rule on the appellant's motion insofar as it pertained to

          the  tool  box's confiscation.   The  appellant  did not  ask for

          reconsideration  based  on  this  oversight.     He  nevertheless

          attempts  to appeal from the  court's failure to  direct that the

          tool box be returned.

                    The  government's brief  misses the  appellant's point.

          It  contends,  correctly,  that  Guzman  never  made a  claim  of

          ownership referable to the  car, and thus does not  have standing

          to contest its seizure.  Cf. United States v. One  Parcel of Real
                                   ___ _____________    ___________________

          Property  . . . Known as  Plat 20, Lot 17, 960  F.2d 200, 206 n.3
          _________________________________________

          (1st  Cir. 1992)  (noting  that  a  person  who  does  not  claim

          ownership  cannot  contest  the  civil  forfeiture  of property);

          United States  v. One Parcel of Real Property .  . . Known as 116
          _____________     _______________________________________________

          Emerson Street, 942 F.2d 74, 78 (1st Cir. 1991) (same).  But this
          ______________

          observation does not  in any way trump the appellant's insistence

          that he owns,  and is entitled to the return of, the tool box and

          its contents.

                              
          ____________________

               8On appeal,  the appellant  does not challenge  this ruling,
          and we do not address it.

                                          15














                    Although  the  appellant's  point is  arguable,  it  is

          separable  from,   and  has  no  effect   upon,  the  appellant's

          conviction and  sentence.  A  defendant may bring  an independent

          civil  action for the return  of property even  if the underlying

          criminal case has  been closed.  See United States  v. Garcia, 65
                                           ___ _____________     ______

          F.3d 17, 19-20 (4th Cir. 1995); United States v. Giraldo, 45 F.3d
                                          _____________    _______

          509, 511 (1st Cir.  1995); United States v. Giovanelli,  998 F.2d
                                     _____________    __________

          116, 118-19 (2d Cir. 1993).  Since such a complaint serves as the

          functional equivalent of a Rule 41(e) motion, we perceive no need

          to prolong this  case in order to pursue the point (especially in

          view of the  fact that  the district  court made  no findings  in

          regard to the tool box).  We therefore deny Guzman's request  for

          relief  vis-a-vis the tool box, without prejudice to his right to

          bring a separate civil action  to compel its return.  See  United
                                                                ___  ______

          States v. $8,850, 461 U.S. 555, 569 (1983).
          ______    ______

          III.  CONCLUSION
          III.  CONCLUSION

                    We  need go no further.  For aught that appears, Guzman

          was  lawfully  prosecuted,  justly convicted,  and  appropriately

          sentenced.  His conviction and sentence must therefore be



          Affirmed.
          Affirmed.
          ________












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